10/10/2019                        Welcome
                  Case 1:19-cv-01339      to the Rapides
                                       Document          Parish Filed
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                                                                         Office Website Page
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   Home (/) >> Welcome to the Rapides Parish Sheriff'S O ce Website




  WELCOME TO THE RAPIDES PARISH
  SHERIFF'S OFFICE WEBSITE
  Welcome to the new Rapides Parish Sheriff’s O ce website. We have incorporated
  some features we believe will be more useful to the public; an inmate look up menu
  to see currently housed inmates, weekly listings for the Sheriff sale as well as
  being able to pay property taxes online.

  “Having the privilege of being elected Sheriff of Rapides Parish is the highest honor
  I have achieved in my law enforcement career. Our goal is to work hard and
  provide the best level of law enforcement protection possible for the citizens of
  Rapides Parish. A level of law enforcement you expect and deserve.”
  William Earl Hilton, Sheriff


  RPSO is currently taking applications for Correctional Officers
  and "post certified" Police Officers. For more information visit
  our Personnel page (/personnel)




       EXECUTIVE                                                          DIVISIONS              DEPARTMENTS RESOURCES
       R.P.S.O. Internal (http://internal.rpso.org/)                      Executive (/executive) Bonds & Fines (/bonds- Activities For Kids
                                                                                                   and- nes)              (/activities-kids)
       Contact R.P.S.O. (http://rpso.brandwithred.com/contact-rpso)       Corrections
                                                                          (/corrections-division) Civil (/civil)          Citizens' Academy
       Internal Affairs (http://rpso.brandwithred.com/internal-affairs)
                                                                                                                          (/citizens-academy)
                                                                          Criminal Investigations Criminal Records
       Media Relations (http://rpso.brandwithred.com/media-relations)
                                                                          (/criminal-              (/criminal-records)    Hunter's Safety
                                                                          investigations-division)                        (/hunters-safety-
                                                                                                   Finance
                                                                                                                          education)
                                                                          Metro Narcotics          (/divisions/ nance)
                                                                          (/metro-narcotics-                              Crime Stoppers
                                                                                                   Personnel (/personnel)
                                                                          division)                                       (/crime-stoppers)
                                                                                                 Tax Department (/tax-
                                                                          Support Services                             Crime Victims
                                                                                                 department)
                                                                          (/support-services)                          Reparations Advocate
                                                                                                                       (/crime-victims-
                                                                          Uniform (/uniform)
                                                                                                                       reparations-advocate)

                                                                                                                         Law Enforcement Links
                                                                                                                         (/law-enforcement-
                                                                                                                         links)

                                                                                                                         Safety Tips (/safety-
                                                                                                                         tips)

                                                                                                                         Sex Offender Registry
                                                                                                                         (http://www.sheriffalerts.com/c
                                                                                                                         o ce=54331)

                                                                                                                         Youth Programs
                                                                                                                         (/youth-programs)
www.rpso.org/welcome-rapides-parish-sheriffs-office-website                                                                                         2/3
